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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION

 UNITED STATES OF AMERICA

 VS.                                                 CASE NO: 2:15-cr-45-FtM-38MRM

 JERMAINE LEWIS, JR.


                                         ORDER

       This matter comes before the Court on the Defendant’s Motion to Extend

 Surrender Date (Doc. #350) filed on September 27, 2016. Defendant moves for an

 extension to the date the court ordered the defendant to self-surrender to begin the term

 of incarceration. As grounds for the extension, defendant indicates his wife had spinal

 surgery and is at home on bed rest. Defendant requires additional time to assist in the

 care and recovery of his wife and their minor children. The Court, having considered the

 motion, finds good cause and will grant the extension as outlined below.

       Accordingly, it is now

       ORDERED:

       The Defendant’s Motion to Extend Surrender Date (Doc. 350) is GRANTED. The

 self-surrender date will be extended to NOVEMBER 28, 2016 unless otherwise notified

 by the Bureau of Prisons.

       DONE AND ORDERED at Fort Myers, Florida, this October 6, 2016.




 Copies:
 Counsel of Record
 US Marshals
